                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

BRENT NIX, individually and on behalf of all         Civil Action No. 7:17-CV-00189-D
others similarly situated,

                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION,
ELLIS H. MCGAUGHY, and MICHAEL E.
JOHNSON,

                              Defendants.

ROGER MORTON, individually and on behalf             Civil Action No. 7:17-cv-00197-D
of all others similarly situated,
                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION, ELLIS
H. MCGAUGHY, AND MICHAEL E.
JOHNSON,

                              Defendants.

VICTORIA CAREY, MARIE BURRIS,                        Civil Action No. 7:17-CV-00201-D
MICHAEL KISER, and BRENT NIX,
individually and on behalf of all others similarly
situated,

                              Plaintiffs,
               v.

E.I. du PONT de NEMOURS AND COMPANY
and THE CHEMOURS COMPANY FC, LLC,

                              Defendants.


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            [PROPOSED] ORDER APPROVING THE FORM AND MANNER
                   OF FIRST SUPPLEMENTAL CLASS NOTICE

       WHEREAS, by Order dated October 4, 2023 (Dkt. No. 420), the Court certified the above-

captioned action (the “Action”) to proceed as a class action1;

       WHEREAS, on January 31, 2024 the Court issued an Order Approving the Form and

Manner of Class Notice to notify the certified Classes of the pendency of the Action as a class

action (the “Notice Order”) (Dkt. No. 429);

       WHEREAS, on July 12, 2024, the Court-appointed notice administrator, A.B. Data, Ltd.

(the “Administrator”), filed an affidavit attesting to efforts to disseminate notice to the Classes

pursuant to the Notice Order (Dkt. No. 503);

       WHEREAS, since January 2024, continued and expanded testing of private drinking water

wells around Defendants’ Fayetteville Works facility has indicated that certain wells have a

positive detection of PFAS (the “Expanded Testing Properties”), and, as a result, the associated

property owners or renters of such Expanded Testing Properties may be eligible for class

membership;

       WHEREAS, property owners or renters of such Expanded Testing Properties were not

identified as individuals who would receive actual notice pursuant to the Notice Order;

       WHEREAS, the parties to this Action agree that it is appropriate for property owners or

renters of the Expanded Testing Properties to receive actual notice about their potential class

membership; and

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          The Court certified two Classes pursuant to Fed. R. Civ. P. 23(b): (1) a “public utility”
class, which consists of property owners or renters whose property is serviced by a public water
utility servicing Bladen, Brunswick, Cumberland, New Hanover, or Pender Counties that draws
water from or obtains water drawn from the Cape Fear River downstream of the Fayetteville Works
plant; and (2) a “groundwater” class, which consists of property owners or renters whose property
receives drinking water from a groundwater source with quantifiable concentrations of any of certain
PFAS from the Fayetteville Works plant.


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       WHEREAS, the Court-appointed Class Representatives Victoria Carey, Marie Burris, and

Brent Nix (collectively, “Class Representatives”) have moved for, and Defendants do not oppose,

the entry of an order approving the proposed form and content of a supplemental notice of

pendency to be disseminated to such property owners or renters of the Expanded Testing Properties

(the “Supplemental Notice Order”);

       NOW, THEREFORE, it is ordered as follows:

       1.      The Court approves the form, substance, and requirements of the supplemental

notice attached hereto as Exhibit 1 (the “First Supplemental Class Notice”).

       2.      No later than 14 business days after entry of this Supplemental Notice Order, EIDP,

Inc. and The Chemours Company FC, LLC (“Defendants”) shall, at no cost to Class Counsel,

provide or cause to be provided to the Administrator, in electronic form such as Excel, names,

addresses, or other contact information when available (including email addresses) of all owners and

renters of property with private drinking water wells that, since January 2024, have been found to

contain quantifiable concentrations of PFAS, but whose properties/addresses were not included as

notice recipients pursuant to the Notice Order (the “June 2025 List”).

       3.      No later than 30 business days after entry of this First Supplemental Notice Order

(which shall be the “Supplemental Notice Date”), the Administrator shall cause the First

Supplemental Class Notice, substantially in the form attached hereto as Exhibit 1, to be mailed via

first-class mail, postage prepaid, and, if possible, emailed to all potential Class members on the

June 2025 List.

       4.      Class members from the June 2025 List shall be bound by all determinations,

orders, and judgments in this Action, whether favorable or unfavorable, unless such persons or

entities request exclusion from the Classes in a timely and proper manner. A Class member on the



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June 2025 List who wishes to make such a request shall submit the request in written form by mail

to   the    Administrator   at   the   address   designated    on   the   website   for   this   case,

www.NCPFASLitigation.com, postmarked no later than 60 calendar days after the Supplemental

Notice Date. Such request for exclusion must:

                a. state the name, address, telephone number, and email address (if available) of

                    the person or entity requesting exclusion;

                b. state that the Class member desires to be excluded from the class action Nix v.

                    The Chemours Co. FC, LLC, No. 7:17-cv-00189; and

                c. be signed by the person or entity requesting exclusion or an authorized

                    representative.

       The request for exclusion shall not be effective unless it provides the required information

and is made within the time stated above, or the exclusion is otherwise accepted by the Court. For

avoidance of doubt, only potential Class members included on the June 2025 List may request

exclusion in this manner.

       5.       Plaintiffs shall bear the costs of the notice program set forth above, and Defendants

shall have no responsibility for or involvement in the same except where indicated.

       6.       This First Supplemental Notice Order may be modified by the Court upon motion

by either or both parties for good cause shown.

IT IS SO ORDERED.                                              BY THE COURT:


Entered this ___ day of _______________, 2025.




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         Exhibit 1




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                  LEGAL NOTICE
   If the property you own or rent receives
      water from a public water utility or
  groundwater source containing chemicals                                                                          PRE-SORTED

 from Fayetteville Works, you could be part
                                                                                                                   FIRST-CLASS
                                                                                                                        MAIL

            of a class action lawsuit.
                                                                                                                        AUTO
                                                                                                                   U.S. POSTAGE
                                                                      DuPont Water Class Action Lawsuit                 PAID
                                                                      c/o A.B. Data, Ltd.
Records show you could be affected by a class action lawsuit          PO Box 173062
against E.I. du Pont de Nemours and Company and The                   Milwaukee, WI 53217

Chemours Company FC, LLC (“the Defendants”) that alleges
that beginning in 1980, the Fayetteville Works plant, operated
by the Defendants, discharged wastewater containing per-
and polyfluorinated substances (“PFAS”) into the Cape Fear            Postmaster: Please DO NOT Cover Up Barcode
River, contaminating the water. The Court decided that this           <<Barcode>>
case should be certified as a class action on behalf of two           <<NoticeID>>

“Classes” or groups of people that could include you. The             <<Name1>>
                                                                      <<Street1>>
Court has not decided who is right. There is no money or              <<City>>, <<State>> <<Zip>>
other benefit available now and no guarantee there will be.
Note: this is supplemental notice directed to property
owners or renters whose private drinking water wells
have recently been found to contain a quantifiable
concentration of PFAS, potentially qualifying them for
class membership.
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What is this case about? The lawsuit alleges that beginning in 1980, the Fayetteville Works plant, operated by the Defendants, discharged wastewater
containing PFAS into the Cape Fear River, contaminating the water. As a result, the lawsuit alleges that drinking water was contaminated and water pipes were
damaged. It alleges that PFAS can cause certain cancers and other diseases, and that people living close to the plant who drank the polluted water became sick
because they were exposed to PFAS. The lawsuit also alleges the Defendants knew PFAS was dangerous and did not tell anyone that they released these
chemicals into the Cape Fear River and the environment around the Fayetteville Works plant. The Defendants deny these claims and deny they did anything
wrong. The lawyers for the Classes will have to prove their claims in Court.

Are you included? In this class action there are two Classes, and you are included if you are a property owner or renter whose property (1) is serviced by
a public water utility servicing Bladen, Brunswick, Cumberland, New Hanover, or Pender Counties that draws water from or obtains water drawn from the
Cape Fear River downstream of the Fayetteville Works plant (“Public Utility Class”); or (2) receives drinking water from a groundwater source with
quantifiable concentrations of any of certain PFAS from the Fayetteville Works plant (“Groundwater Class”). There are also three damages subclasses: (1)
current residential property owner-occupiers or renters who have not yet installed both reverse osmosis filters and new water heaters on their property
(“Owner-Occupier/Renter Damages Subclass”); (2) property owners or renters who paid for bottled water, water heaters, and/or reverse osmosis filters from
2017 to present (“Purchaser Damages Subclass”); or (3) property owners who purchased their residential property prior to June 2017 and have not installed
both reverse osmosis filters and new water heaters (“Long-Time Property Owner Damages Subclass”).

Who represents the Classes? The Court has appointed a group of attorneys to represent the Classes as “Class Counsel.” You do not have to pay Class
Counsel or anyone else to participate. Instead, if Class Counsel recovers money or benefits for the Class(es), they will ask the Court for their attorneys’ fees
and expenses. If approved, these fees and expenses will be deducted from any money obtained for the Class(es) or paid separately by the Defendants. You
may hire your own lawyer to appear in Court for you, but if you do, you have to pay that lawyer.

What are your options? To stay in the Class(es), you do not have to do anything. If money or benefits are obtained, you will be notified of how to request
a share. If you stay in the Class(es), you will not be able to sue the Defendants on your own about the claims in this lawsuit. If you want to maintain your
rights to sue on your own, you must exclude yourself by [Month 00, 2025] by following the procedure set forth on the website for the case,
www.NCPFASLitigation.com. If you exclude yourself, you cannot get money or benefits from this lawsuit if any are awarded. Note: this is supplemental
notice directed to property owners or renters whose private drinking water wells have recently been found to contain a quantifiable concentration
of PFAS, potentially qualifying them for class membership. Only these property owners or renters may now exclude themselves.

         For more information: 1-877-495-0948                                                                   www.NCPFASLitigation.com
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